         Case 2:21-cr-00427-CFK Document 195 Filed 10/27/22 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
                                                     :              CRIMINAL ACTION
UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
                                                     :
       v.                                            :              No.       21-00427-01
                                                     :
JOSEPH CAMMARATA                                     :
           Defendant.                                :


                                           NOTICE

       AND NOW, this 27th day of October 2022, upon consideration of the defendant’s

testimony during trial, which appeared to raise questions about the amount of money that will be

subject to forfeiture, it is hereby NOTICED that counsel shall meet and confer no later than

Thursday, November 3, 2022, 12:00 p.m. Additionally, the attorneys shall submit a joint

submission by Friday, November 4, 2022, 12:00 p.m. The joint submission shall state whether

an evidentiary hearing on forfeiture should be scheduled in advance of sentencing, and if so,

include proposed dates in which all counsel are available. The probation officer assigned to the

presentence investigation will also be required to attend any such hearing.

                                                            BY THE COURT:

                                                            /s/ Chad F. Kenney


                                                            CHAD F. KENNEY, JUDGE
Cc:    Counsel
